Case 1:18-cr-04166-JBM Document 59 Filed 10/14/21 Page 1 of1

FILED
United States District Court

UNITED STATES DISTRICT COURT Albuquerque, New Mexico
for th
District of New Mexico Mitchell R. Elfers
Clerk of Court

 

United States of America

v

CARLANDREW ROLANDO ERIACHO
Defendant

Case No. 18 CR 4166 JBM

 

WAIVER OF PERSONAL PRESENCE AT HEARING

I, Carlandrew Rolando Eriacho , Defendant, understand that I am scheduled for

, initial revocation appearance hearing on October 14, 2021
nature of hearing date

 

 

I understand that I may appear by video for this proceeding. I hereby ask to be permitted to

appear for the hearing by video, and waive my right to be personally present for this hearing.

Date: sh {zs ee

— =| + sr~*r—-

Defendant's signature
™~

 

Signature of de fendant’s attorney

ALEJANDRO B. FERNANDEZ

Printed name of defendant's attorney

alejandro_fernandez@fd.org

Defendant's attorney's e-mail address

 

 
